                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

JENNIFER PHILLIPS SMITH,                 )
                                         )
        Plaintiff,                       )
                                         )
v.                                       )
                                         )
UNION BANK & TRUST,                      )
                                         )       Case No: 7:18CV569
                                         )
Serve:                                   )
     Rachel Lape                         )
     Registered Agent                    )
     Union Bankshares Corp.              )
     1051 East Cary Street               )
     Suite 1200                          )       JURY TRIAL DEMAND
     Richmond, VA 23219                  )
                                         )
        Defendant.                       )

                                     COMPLAINT

        COMES NOW, Plaintiff Jennifer Phillips Smith (hereinafter, “Ms. Smith” or

“Plaintiff”), by counsel, and states as her Complaint against Defendant Union Bank &

Trust (hereinafter, “Union” or “Defendant”), the following:

                          I. JURISDICTION AND VENUE

        1.    This Court has jurisdiction over this matter as it arises from the federal

questions presented by the Family and Medical Leave Act, as codified under Title 29

U.S.C. §§ 2601 et seq. (“FMLA”), and the Americans with Disabilities Act, as codified

under Title 42 U.S.C. §§ 12101 et seq., and the ADA Amendments Act of 2008 (“ADA”).

See generally 28 U.S.C. § 1331; 28 U.S.C. § 1343(a)(4).

        2.    Venue is appropriate as the acts and/or omissions of Defendant from which

the causes of action arise, occurred in the town of Blacksburg, Virginia, which is located


                                             1

     Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 1 of 14 Pageid#: 1
within the County of Montgomery, and which is within the Western District of Virginia,

Roanoke Division. See 28 U.S.C. § 1391(b)(2).

       3.      Due to its contacts within the Commonwealth of Virginia, Defendant avails

itself to the jurisdiction of this Court.

       4.      As it relates to Plaintiff’s ADA claims, Plaintiff timely filed a charge of

discrimination with the Equal Employment Opportunity Commission (“EEOC”) on or

around January 23, 2018. Plaintiff received a Dismissal and Notice of Rights from the

EEOC dated October 23, 2018, attached hereto as EXHIBIT A. Plaintiff files suit within

ninety (90) days of receipt of that Dismissal and Notice of Rights.

                                     II. THE PARTIES

       5.      Ms. Smith, a resident of Christiansburg, Virginia, was hired by Union in or

around November of 2008, and worked on a consistent, full-time basis for Union for

nearly nine (9) years, until her unlawful termination on or about August 30, 2017.

       6.      Union is a privately owned and state chartered commercial bank

headquartered in Lincoln, Nebraska, that maintains bank branches in several states.

                              III. FACTUAL ALLEGATIONS

       7.      In or around November of 2008, Ms. Smith was hired by Union as a

“Collections Representative II and Foreclosure Specialist” at the Union branch located in

Blacksburg, Virginia.

       8.      During her employment with Union, Ms. Smith’s work performance was

excellent, and met or exceeded Union’s legitimate business expectations.

       9.      At all times relevant, Ms. Smith suffered from an ADA-recognized

disability/serious health condition, specifically chronic, severe neck pain and multiple

herniated discs (hereinafter, “Cervicalgia”).

                                                2

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 2 of 14 Pageid#: 2
      10.    In the alternative, Union regarded Ms. Smith as disabled.

      11.    Ms. Smith’s Cervicalgia affected her daily life activities, including sitting,

standing, and working for an extended period of time. Ms. Smith’s disability required

several surgeries – including a spinal fusion – and caused her to experience debilitating

pain, peripheral neuropathy, fatigue, numbness in her fingers and hands, and tingling in

her arms, hands, and shoulders. Additionally, Ms. Smith’s Cervicalgia prohibited Ms.

Smith from sitting or standing for long periods of time.

      12.    At all times relevant, however, Ms. Smith could perform the essential

functions of her job with or without an accommodation for her disability/serious health

condition.

      13.    When healthy, Ms. Smith was punctual and present for her scheduled shifts.

      14.    When Ms. Smith’s Cervicalgia necessitated time away from work, she

always followed proper company leave policies and protocol, informed her supervisors of

her need for an accommodation related to leave and attendance, and specifically sought

appropriate guidance from Union related to her disability/serious health condition.

      15.    Accordingly, at all times relevant, Union had knowledge of Ms. Smith’s

disability/serious health condition, thus triggering Union’s duty to advise Ms. Smith of

her rights and obligations under the FMLA and ADA.

      16.    Unfortunately, upon information and belief, Ms. Smith’s supervisors held a

discriminatory animus against accommodating Ms. Smith’s disability, and were resistant

to Ms. Smith’s use of intermittent leave to manage and treat her Cervicalgia.

      17.    Specifically, in January of 2017, Ms. Smith’s physicians recommended that

she have surgery to address and treat three herniated discs in her neck.



                                            3

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 3 of 14 Pageid#: 3
      18.    In addition, Ms. Smith was required to attend physical therapy

appointments several days a week and receive 10-15 pain management trigger point

injections monthly or bi-monthly.

      19.    Ms. Smith then requested, and was approved of, FMLA leave to begin on or

about January 27, 2017, and end on or about April 3, 2017.

      20.    Ms. Smith previously was approved for intermittent FMLA leave on or

about April 1, 2016.

      21.    Upon the recommendation of her physician, Ms. Smith informally

requested the reasonable disability-related accommodation of a reduced schedule work

week to fully recover from her surgery when she returned to work in April 2017. See 42

U.S.C. § 12111(9) (Reasonable accommodations may include job restructuring, and part-

time or modified work schedules.)

      22.    Upon information and belief, Union had previously accommodated other

similarly situated employees’ reduced time requests in the form of late arrivals and

departures, and Ms. Smith’s direct manager, Frank Merritt, initially agreed to Ms. Smith’s

proposed schedule.

      23.    On or about April 26, 2017, Ms. Smith presented Oni Hunter, Assistant Vice

President and Human Resources Business Partner, with a physician’s note advising that

Ms. Smith should restrict her work hours to no more than 32 hours per week to

accommodate her “ongoing chronic neck issues.”

      24.    Ms. Smith was capable of completing her full-time work load within the

recommended reduced workweek schedule, and informed Ms. Hunter that she intended

to complete all of her assigned work during her recovery.



                                            4

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 4 of 14 Pageid#: 4
       25.    However, despite no perceivable “undue hardship” to Union, Ms. Hunter

rejected Ms. Smith’s proposed accommodation requests, and informed Ms. Smith that

any reduction in Ms. Smith’s working hours, even for a limited time period, would be

treated as an unexcused absence.

       26.    Additionally, Ms. Hunter made the outrageous request that Ms. Smith

double her recommended dosage of pain medication during working hours so that Ms.

Smith could work 40 hours per week.

       27.    Upon information and belief, Ms. Hunter’s discriminatory conduct towards

Ms. Smith was intentional, and in retaliation for Ms. Smith’s use of federally protected

leave to manage her disability/serious health condition.

       28.    However, and in an attempt to engage in an interactive process with her

employer, Ms. Smith discussed her need for an accommodation several times with Ms.

Hunter in April and May of 2017.

       29.    Despite Ms. Smith’s efforts, Union refused to provide Ms. Smith with an

adequate solution, and instead offered Ms. Smith an ineffective ergonomic chair and a

part time bank teller position that would underemploy Ms. Smith and reduce her salary

by more than 60 percent.

       30.    As Ms. Smith’s disability/serious health condition required that, after a

certain time period of standing or sitting, she lay flat to ease her chronic neck pain, these

proposed solutions were insufficient.

       31.    Faced with this physically and financially unworkable situation, Ms. Smith

advised her physician of Union’s denial of her reduced workweek schedule request, and

asked whether another, lesser accommodation would allow for her appropriate recovery.



                                             5

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 5 of 14 Pageid#: 5
      32.    However, Ms. Smith’s physician was adamant that Ms. Smith should work

no more than 32 hours per week to manage her disability/serious health condition.

      33.    Ms. Smith relayed her physician’s advice to Ms. Hunter, who again refused

to engage in an interactive process with Ms. Smith, and advised her on May 26, 2017, that

all future absences, tardiness, and early departures would be treated as unexcused

absences.

      34.    Despite Union’s discriminatory behavior towards her, Ms. Smith again

attempted to work with Union to find a mutually agreeable solution, and presented Ms.

Hunter with a second note from Ms. Smith’s physician on June 15, 2017, that limited Ms.

Smith’s reduced schedule of 32 hours per week to a three (3) month period.

      35.    Additionally, even though Ms. Smith intended and was able to complete all

of her weekly job duties within the 32 hour per week period, she offered to receive reduced

pay during this time period.

      36.    Ms. Hunter refused to agree to Ms. Smith’s proposed temporary reduced

schedule and pay, and again advised Ms. Smith that all future absences would be

unexcused, and result in disciplinary action against Ms. Smith.

      37.    However, Ms. Smith’s excruciating post-surgery pain made it impossible for

her to work a 40-hour work week. Accordingly, Ms. Smith completed all of her assigned

work within the reduced workweek schedule recommended by her physician.

      38.    Even so, Union penalized Ms. Smith’s efficiency with a written Notice of

Performance Counseling on June 30, 2017 for unexcused absences.

      39.    On July 18, 2017, Ms. Smith received a “final” Notice of Performance

Counseling, again citing unexcused absences.



                                            6

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 6 of 14 Pageid#: 6
      40.    Additionally, Union ultimately accused Ms. Smith of “overpayment” during

her reduced workweek schedule, and attempted to force Ms. Smith to “reimburse” several

thousand dollars to Union.

      41.    On or about August 17, 2017, Ms. Smith was diagnosed with a new herniated

disk and spinal stenosis, and was urged by her physician to maintain her recommended

reduced schedule.

      42.    Accordingly, Ms. Smith continued to complete her assigned work within the

32-hour work week recommended by her physician, and Union continued to cite Ms.

Smith for unexcused absences.

      43.    From April 2017 until August 2017, Ms. Smith completed all of her assigned

work, revised her accommodation requests, and offered to take a reduced salary during

her recovery period. However, Union refused to adequately engage with Ms. Smith and/or

address her proposed accommodation requests in any meaningful way, and ultimately

terminated Ms. Smith’s employment on August 30, 2017.

      44.    Upon information and belief, no business-related legitimate reason justified

the actions Union took against Ms. Smith, as Ms. Smith’s work performance was excellent

and, until she requested federally protected FMLA leave and related accommodations to

treat her disability/serious health condition, she never received any discipline from her

employer.

      45.    Accordingly, Ms. Smith’s termination was merely a pretext to unlawful

discrimination and retaliation by Union, as Ms. Smith’s discharge occurred under

circumstances that raise a reasonable inference of unlawful discrimination and retaliation

based upon her disability/serious health condition and/or requests for leave and/or

reasonable accommodations.

                                            7

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 7 of 14 Pageid#: 7
      46.       Indeed, the short temporal proximity between the time Ms. Smith requested

leave and accommodations related to her disability/serious health condition and her

termination supports Ms. Smith’s claims for discrimination and retaliation.

      47.       Ms. Smith suffered a termination, in violation of both the FMLA and the

ADA, because Union:

               discriminated and/or retaliated against Ms. Smith for taking FMLA leave;

               discriminated and/or retaliated against Ms. Smith because of her

                disabilities and/or because of her requests for disability-related leave and

                accommodations; and/or

               failed to properly accommodate Ms. Smith’s disabilities.

      48.       Because the actions taken by Mr. Merritt, Ms. Hunter, and other Union

employees were taken within the scope of their employment, Union is responsible for

their actions based upon the doctrine of respondeat superior.

                    COUNT I: CLAIM FOR DISCRIMINATION
                 AND RETALIATION IN VIOLATION OF THE FMLA

      49.       Ms. Smith incorporates herein by reference the preceding paragraphs of this

Complaint.

      50.       Union is: (1) engaged in commerce and/or in an industry affecting

commerce; and (2) an employer of fifty (50) or more employees for each working day

during each of twenty (20) or more calendar workweeks in the current or preceding

calendar year.

      51.       Ms. Smith worked for Union for nearly nine (9) years and worked more than

1,250 hours during the twelve (12) month period immediately preceding her termination.




                                              8

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 8 of 14 Pageid#: 8
       52.    Ms. Smith properly notified Union of her disability/serious health

condition, and of her need for FMLA-qualifying leave, to which she was entitled, to seek

treatment for her disability/serious health condition.

       53.    Union discriminated against Ms. Smith by improperly retaliating against

her within short temporal proximity after she exercised the substantive FMLA rights to

which she was entitled, and treating her differently, and less favorably, than similarly

situated employees not exercising FMLA rights, resulting in Ms. Smith’s termination.

       54.    Union would not have terminated Ms. Smith’s employment, nor taken the

other discriminatory and retaliatory actions against her, but for Ms. Smith’s requests

related to, and use of, FMLA leave.

       55.    Any reasons given by Union for its treatment of Ms. Smith were pretextual,

as Ms. Smith’s work performance was excellent.

       56.    Union’s discriminatory and retaliatory conduct prejudiced Ms. Smith in

that she lost compensation and benefits, sustained other monetary losses, and suffered

the loss of her employment as a direct result of Union’s violation.

       57.    As a direct and proximate result of Union’s actions, Ms. Smith has suffered

and will continue to suffer pecuniary loss, emotional pain, suffering, inconvenience,

mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

       58.    At all times material hereto, Union engaged in unlawful or discriminatory

practices with bad faith, malice, or reckless indifference to the federally protected rights

of Ms. Smith so as to support an award of liquidated damages.

       59.    The above-described acts by Union and employees of Union constitute

unlawful discrimination and/or retaliation in violation of the Family Medical Leave Act,

as codified under Title 29 of the United States Code §§ 2601 et seq. (“FMLA”).

                                             9

  Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 9 of 14 Pageid#: 9
                  COUNT II: CLAIM FOR DISCRIMINATION
                AND RETALIATION IN VIOLATION OF THE ADA

       60.     Ms. Smith incorporates herein by reference the preceding paragraphs of this

Complaint.

       61.     At all times relevant to this Complaint, Ms. Smith was a qualified individual

with a disability, pursuant to the ADA.

       62.     Specifically, and at all times relevant, Ms. Smith suffered from a

disability/serious health condition, specifically, Cervicalgia – a recognized disability

under the ADA - that impaired several of Ms. Smith’s daily life activities and/or functions

including sitting, standing, and working for an extended period of time.

       63.     In the alternative, Ms. Smith was regarded by Union as having such

impairments.

       64.     At all times relevant, however, Ms. Smith could perform the essential

functions of her job as a Collections Representative II and Foreclosure Specialist with or

without an accommodation.

       65.     Prior to her requests for accommodations, Ms. Smith was performing her

work at a satisfactory level and meeting or exceeding the legitimate business expectations

of Union.

       66.     Ms. Smith revealed her disability/serious health condition to her

supervisors at Union, and requested the reasonable accommodation of a reduced

workweek schedule for a short time period to treat and manage her disability/serious

health condition.

       67.     Union discriminated and retaliated against Ms. Smith by refusing to

appropriately engage in a dialogue with her with regard to disability accommodations,


                                             10

 Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 10 of 14 Pageid#: 10
denying Ms. Smith’s accommodation requests, demanding that Ms. Smith double her

recommended dosage of pain medication during working hours, issuing unwarranted

disciplinary actions to her, threatening her/requesting that she return a portion of her

salary, and treating Ms. Smith differently, and less favorably than similarly situated

employees – ultimately resulting in Ms. Smith’s unlawful termination from employment.

      68.    Union would not have terminated Ms. Smith’s employment, nor taken the

other discriminatory and retaliatory actions against her, but for Ms. Smith’s

disability/serious health condition and/or requests for reasonable accommodations.

      69.    Any reasons given by Union for its treatment of Ms. Smith were pretextual,

as Ms. Smith’s work performance was excellent.

      70.    Ms. Smith’s termination from employment occurred under circumstances

that raise a reasonable inference of unlawful discrimination and retaliation based upon

her disability/serious health condition and/or requests for accommodations.

      71.    As a direct and proximate result of Union’s actions, Ms. Smith has suffered

and will continue to suffer pecuniary loss, emotional pain, suffering, inconvenience,

mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

      72.    At all times material hereto, Union engaged in unlawful or discriminatory

practices with malice or reckless indifference to the federally protected rights of Ms.

Smith so as to support an award of punitive damages.

      73.    The above-described acts by Union and employees of Union constitute

disability discrimination and retaliation in violation of the Americans with Disabilities

Act, as codified under Title 42 U.S.C. §§ 12101 et seq., and the ADA Amendments Act of

2008 (“ADA”).



                                           11

 Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 11 of 14 Pageid#: 11
                      COUNT III: CLAIM FOR FAILURE
                TO ACCOMMODATE IN VIOLATION OF THE ADA

      74.      Ms. Smith incorporates herein by reference the preceding paragraphs of this

Complaint.

      75.      At all times relevant to this Complaint, Ms. Smith was a qualified individual

with a disability, pursuant to the ADA.

      76.      Specifically, and at all times relevant, Ms. Smith suffered from a

disability/serious health condition, specifically, Cervicalgia – a recognized disability

under the ADA that impaired several of Ms. Smith’s daily life activities and/or functions.

      77.      In the alternative, Ms. Smith was regarded by Union as having such

impairments.

      78.      At all times relevant, however, Ms. Smith could perform the essential

functions of her job as a Collections Representative II and Foreclosure Specialist with or

without an accommodation.

      79.      Ms. Smith revealed her disability/serious health condition to her

supervisors at Union, and requested the reasonable accommodation of a reduced

workweek schedule for a certain time period to treat and manage her disability/serious

health condition.

      80.      Prior to her request for disability accommodations, Ms. Smith was

performing her work at a satisfactory level and meeting or exceeding the legitimate

business expectations of Union.

      81.      Union failed to accommodate Ms. Smith’s disability/serious health

condition by refusing to appropriately engage in a dialogue with her with regard to

disability accommodations, denying Ms. Smith’s accommodation requests, demanding


                                             12

 Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 12 of 14 Pageid#: 12
that Ms. Smith double her recommended dosage of pain medication during working

hours, issuing unwarranted disciplinary actions to her, threatening her/requesting that

she return a portion of her salary, and treating Ms. Smith differently, and less favorably

than similarly situated employees – ultimately resulting in Ms. Smith’s unlawful

termination from employment.

      82.    Union would not have terminated Ms. Smith’s employment, nor failed to

accommodate her, but for her disability/serious health condition.

      83.    Any reasons given by Union for its treatment of Ms. Smith were pretextual,

as Ms. Smith’s work performance was excellent.

      84.    Ms. Smith’s termination from employment occurred under circumstances

that raise a reasonable inference of unlawful discrimination and retaliation based upon

her disability/serious health condition and/or requests for accommodations.

      85.    As a direct and proximate result of Union’s actions, Ms. Smith has suffered

and will continue to suffer pecuniary loss, emotional pain, suffering, inconvenience,

mental anguish, loss of enjoyment of life, and other non-pecuniary losses.

      86.    At all times material hereto, Union engaged in unlawful or discriminatory

practices with malice or reckless indifference to the federally protected rights of Ms.

Smith so as to support an award of punitive damages.

      87.    The above-described acts by Union and employees of Union constitute

failure to accommodate in violation of the Americans with Disabilities Act, as codified

under Title 42 U.S.C. §§ 12101 et seq., and the ADA Amendments Act of 2008 (“ADA”).



      WHEREFORE, Plaintiff Jennifer Phillips Smith prays for judgment against

Defendant Union Bank & Trust, and for equitable relief, compensatory, liquidated and/or

                                           13

 Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 13 of 14 Pageid#: 13
punitive damages, together with prejudgment interest from the date of Ms. Smith’s

termination from employment, and for costs and attorneys’ fees, and for such other and

further relief as may be just and equitable.



TRIAL BY JURY IS DEMANDED.




                                          Respectfully Submitted,

                                          JENNIFER PHILLIPS SMITH

                                          /s/ Thomas E. Strelka______________
                                          Thomas E. Strelka, Esq. (VSB# 75488)
                                          L. Leigh R. Strelka, Esq. (VSB # 73355)
                                          N. Winston West, IV, Esq. (VSB # 92598)
                                          STRELKA LAW OFFICE, PC
                                          Warehouse Row
                                          119 Norfolk Avenue, S.W., Suite 330
                                          Roanoke, VA 24011
                                          Tel: 540-283-0802
                                          thomas@strelkalaw.com
                                          leigh@strelkalaw.com
                                          winston@strelkalaw.com

                                          Counsel for Plaintiff




                                               14

 Case 7:18-cv-00569-GEC Document 1 Filed 11/14/18 Page 14 of 14 Pageid#: 14
